Case 18-50214-rlj11 Doc 369 Filed 10/12/18       Entered 10/12/18 14:26:59   Page 1 of 4




Duane M. Geck
Cal. State Bar No. 114823
Donald H. Cram
Cal. State Bar No. 160004
Tex. State Bar No. 05000300
SEVERSON & WERSON
A Professional Corporation
One Embarcadero Center, Suite 2600
San Francisco, California 94111
Telephone: (415) 398-3344
Facsimile: (415) 956-0439
dhc@severson.com

Keith A. Langley
State Bar No. 11919500
Brandon K. Bains
State Bar No. 24050126
LANGLEY LLP
1301 Solana Blvd
Building 1, Suite 1545
Westlake, Texas 76262
Telephone:     214.722.7171
Facsimile:     214.722.7161
bbains@l-llp.com

Attorneys for Secured Creditor
FORD MOTOR CREDIT COMPANY LLC

                             UNITED STATES BANKRUPTCY COURT

                               NORTHERN DISTRICT OF TEXAS

                                    LUBBOCK DIVISION

IN RE:                                       §
                                             §
REAGOR-DYKES MOTORS, LP, et al.,1            §         Case No. 18-50214-rlj11
                                             §         Jointly Administered
                   Debtor.                   §



         1
        The Debtors are Reagor-Dykes Imports, LP (Case No. 18-50215), Reagor-Dykes
Amarillo, LP (Case No. 18-50216), Reagor-Dykes Auto Company, LP (Case No. 18-50217),
Reagor-Dykes Plainview, LP (Case No. 18-50218), and Reagor-Dykes Floydada, LP (Case No.
18-50219).


10872.0173/11712656.1
                                      WITHDRAWAL OF MOTION TO APPOINT CHAPTER 11 TRUSTEE
Case 18-50214-rlj11 Doc 369 Filed 10/12/18                Entered 10/12/18 14:26:59      Page 2 of 4



     WITHDRAWAL OF FORD MOTOR CREDIT COMPANY LLC’S MOTION TO
     APPOINT CHAPTER 11 TRUSTEE PURSUANT TO 11 U.S.C. § 1104(a) AND (b)

         Secured Creditor, Ford Motor Credit Company LLC (“Ford Credit”), withdraws its

Motion to Appoint Chapter 11 Trustee pursuant to 11 U.S.C. § 1104(a) and (b) respectfully

showing the Court as follows:

         1.        On August 1, 2018 (the “Petition Date”), Debtors filed voluntary petitions for

relief under Chapter 11 of Title 11, United States Code, 11 U.S.C. § 101 et seq. (the “Bankruptcy

Code”) in the United States Bankruptcy Court for the Northern District of Texas (the

“Bankruptcy Court”).
         2.        On August 8, 2018, Debtors filed an application to employ BlackBriar Advisors,

LLC to act as Debtors’ Chief Restructuring Officer [Docket No. 38].

         3.        On August 9, 2018, Ford Credit filed a Motion to Appoint Chapter 11 Trustee

pursuant to 11 U.S.C. § 1104(a) and (b) [Docket No. 47] (“Motion”).

         4.        On August 30, 2018, the Court entered a Final Order employing BlackBriar

Advisors, LLC as Debtors’ Chief Restructuring Officer [Docket No. 190].

         5.        No party in interest has filed a response or any opposition to the Motion.

         6.        The hearing on the Motion has been continued several times with a current

hearing date scheduled for October 18, 2018 at 10:00 a.m.

         7.        The Motion is a contested matter pursuant to Bankruptcy Rule 9014.

         8.        Pursuant to Bankruptcy Rule 9014(c), Bankruptcy Rule 7041 is made applicable
to the Motion.

         9.        Bankruptcy Rule 7041 incorporates by reference Rule 41 of the Federal Rules of

Civil Procedure which permits Ford Credit to withdraw the Motion where no response or

opposition has been filed and served.

         WHEREFORE, pursuant to Rule 41 of the Federal Rules of Civil Procedure as

incorporated by Bankruptcy Rule 7041 and made applicable to the Motion pursuant to

Bankruptcy Rule 9014(c), Ford Credit hereby withdraws the Motion.



10872.0173/11712656.1                                 2
                                            WITHDRAWAL OF MOTION TO APPOINT CHAPTER 11 TRUSTEE
Case 18-50214-rlj11 Doc 369 Filed 10/12/18       Entered 10/12/18 14:26:59   Page 3 of 4



DATED: October 12, 2018            SEVERSON & WERSON
                                   A Professional Corporation



                                   By:             /s/ Donald H. Cram
                                                         Donald H. Cram

                                   Cal. State Bar No. 160004
                                   Tex. State Bar No. 05000300
                                   SEVERSON & WERSON
                                   A Professional Corporation
                                   One Embarcadero Center, Suite 2600
                                   San Francisco, California 94111
                                   Telephone: (415) 398-3344
                                   Facsimile: (415) 956-0439
                                   dhc@severson.com

                                   Attorneys for Secured Creditor
                                   FORD MOTOR CREDIT COMPANY LLC




10872.0173/11712656.1                        3
                                 WITHDRAWAL OF MOTION TO APPOINT CHAPTER 11 TRUSTEE
Case 18-50214-rlj11 Doc 369 Filed 10/12/18            Entered 10/12/18 14:26:59      Page 4 of 4




                                CERTIFICATE OF SERVICE

The undersigned hereby certifies that a true and correct copy of the foregoing has been served
electronically by the Court’s ECF System on all parties registered to receive such service on the
12th day October, 2018.



                                                        /s/ Donald H. Cram
                                                              Donald H. Cram




10872.0173/11712656.1                             4
                                        WITHDRAWAL OF MOTION TO APPOINT CHAPTER 11 TRUSTEE
